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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA

VERSUS                                           CRIMINAL ACTION NO.1:08cr85WJG-RHW-1

WILLIAM C. BRELAND, JR.


                               FINAL ORDER OF FORFEITURE


        WHEREAS, on January 7, 2009, this Court entered a Preliminary Order of Forfeiture,

(Ct. R., Doc. 46), ordering the Defendant, William C. Breland, Jr., to forfeit a money judgment in

the amount of $16,019.66; and,

        WHEREAS, the Court finds that Defendant has an interest in the property that is subject

to forfeiture pursuant to Title 18, United States Code, Section 981 (a)(1)(C), and Title 28, United

States Code, Section 2461(c); and,

        WHEREAS, Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure provides that

“no ancillary proceeding is required to the extent that the forfeiture consists of a money

judgment";

        NOW THEREFORE, it is hereby,

        ORDERED, ADJUDGED AND DECREED that a money judgment in the amount of

$16,019.66 is hereby forfeited to the United States of America [United States] pursuant to Title

18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c).

It is further,

        ORDERED, ADJUDGED AND DECREED that all right, title and interest in and to the

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above described property be, and is hereby, condemned, forfeited and vested in the United States

and shall be disposed of according to law. It is further,

       ORDERED AND ADJUDGED that this Final Order of Forfeiture shall be enrolled in all

appropriate judgment rolls. It is further,

       ORDERED AND ADJUDGED that this Court shall retain jurisdiction of this matter for

the purpose of enforcing this Order.

       SO ORDERED AND ADJUDGED this 7th day of January, 2009.




                                                UNITED STATES SENIOR DISTRICT JUDGE




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